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                    UNITED STATES DISTRICT COURT
                      DISTRICT OF MASSACHUSETTS

____________________________
                            )
UNITED STATES OF AMERICA    )
                            )
     v.                     )      CRIMINAL ACTION NO. 03-10329-PBS
                            )
ANGELO BRANDAO,             )
                            )
     Defendant.             )
____________________________)




                         MEMORANDUM AND ORDER

                             May 12, 2010

Saris, U.S.D.J.

                            I. INTRODUCTION

     Petitioner Angelo Brandao was convicted of racketeering and

firearms charges after a jury trial and sentenced to 333 months

imprisonment on December 13, 2006.       The First Circuit affirmed

the conviction.   United States v. Brandao, 539 F.3d 44 (1st Cir.

2008).   Brandao has filed a motion to vacate the sentence

pursuant to 28 U.S.C. § 2255, arguing that: (1) he received

ineffective assistance of counsel based on counsel’s failure to

object to a portion of the jury charge; (2) the government’s

failure to disclose exculpatory evidence violated his due process

rights; (3) his sentence was unreasonable; and (4) new

information suggests that the jurors were untruthful during voir

dire when questioned about their ability to fairly evaluate the

testimony of a police officer.
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     After review of the briefs and the record, the motion to

vacate is DENIED.

                            II. BACKGROUND

     The facts of this case that are relevant to deciding the

instant motion are briefly stated here; the full factual

background of this case is set forth by the First Circuit in its

review of the petitioner’s conviction on appeal.         Brandao, 539

F.3d at 46-50.

A. Jury Instruction

     On February 9, 2006, a jury convicted Brandao on four counts

of racketeering and firearms charges and acquitted him of four

other counts.    In the course of the trial, the jury received

erroneous instructions on Racketeering Act 20, which is one of

the predicate acts with which Brandao was charged in relation to

the racketeering charges.     The error, which resulted in the jury

receiving instructions on substantive murder rather than

conspiracy to commit murder, was the result of a drafting error

in the indictment.    Id. at 56-57.     Despite the fact that the

Court distributed draft instructions a week prior to the jury

being charged and conducted two conferences on the instructions,

petitioner did not object to the instruction and only first

raised the issue through a post-trial motion.         This Court held

that Brandao was not prejudiced by the error.         United States v.




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Brandao, 448 F. Supp. 2d 311, 323 (D. Mass. 2006).         The First

Circuit agreed.   Brandao, 539 F.3d at 62.

B. Exculpatory Evidence

     Brandao filed a Motion for New Trial on May 1, 2006,

alleging that he was prejudiced by the prosecution’s failure to

disclose a new criminal conviction of its key witness.          This

Court found that the information about the witness’s conviction

was immaterial and therefore denied the motion.         Brandao, 448 F.

Supp. 2d at 328-29.    The First Circuit affirmed this ruling,

finding that it was not an abuse of discretion for this Court to

rule that the prosecution’s omission was immaterial.          Brandao,

539 F.3d at 64.

C. Appeals and Post-Sentencing Motions

     On December 13, 2006, this Court sentenced the petitioner to

333 months of imprisonment.     He timely appealed and the First

Circuit denied his appeal on August 21, 2008.         Brandao moved for

rehearing, which was denied on October 27, 2008.

     Petitioner filed the instant motion in November 2009.              In

support of his allegations that some jurors were untruthful

during voir dire, Brandao submitted an attachment under seal

[Sealed Document, Docket No. 1559] that consisted of an essay

written by one of the jurors.      The essay indicates that the juror

wrote it in August 2006 for a non-fiction writing class.

                            III. DISCUSSION


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     Under Section 2255, a defendant may seek post-conviction

relief in four instances: if the sentence “(1) was imposed in

violation of the Constitution, or (2) was imposed by a court that

lacked jurisdiction, or (3) exceeded the statutory maximum, or

(4) was otherwise subject to collateral attack.”         David v. United

States, 134 F.3d 470, 474 (1st Cir. 1998)(citing Hill v. United

States, 368 U.S. 424, 426-27 (1962)).       The petitioner must

demonstrate an entitlement to Section 2255 relief, as well as the

need for an evidentiary hearing, by a preponderance of the

evidence.   Barrett v. United States, 965 F.2d 1184, 1186 (1st

Cir. 1992) (citation omitted).

     Claims that a petitioner has previously had a full and fair

opportunity to litigate generally may not be raised under Section

2255 absent countervailing equitable considerations.          Withrow v.

Williams, 507 U.S. 680, 721 (1993).       Similarly, “[i]ssues

disposed of on a prior appeal will not be reviewed again by way

of a 2255 motion.”    Tracey v. United States, 739 F.2d 679, 682

(1st Cir. 1984).

     Petitioner makes no claim that his sentence was imposed by a

court that lacked jurisdiction or exceeded the statutory maximum.

All of his arguments for post-conviction relief thus attempt to

show that his sentence is “otherwise subject to

collateral attack” or was imposed in violation of his

constitutional rights.     Three of the four issues Brandao raises


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in his motion to vacate are reiterations of arguments he made

during his original case and on direct appeal.         In essence, the

only new ground for relief alleged in the instant motion is that

certain members of the jury were untruthful during voir dire.

A. Ineffective Assistance of Counsel

     Petitioner argues that he received ineffective assistance of

counsel due to his trial attorney’s failure to object to an

erroneous jury instruction on Racketeering Act 20.         To succeed on

an ineffective assistance of counsel claim, the petitioner must

show that (1) counsel’s performance was deficient, and (2)

petitioner was prejudiced by counsel’s deficient performance.

Strickland v. Washington, 466 U.S. 668, 687 (1984).

     Brandao asserts that he was prejudiced by his attorney’s

failure to object to both the jury instruction on the elements of

murder rather than conspiracy to commit murder and the special

verdict form that identified Racketeering Act 20 as “the murder

of Dinho Fernandes” rather than conspiracy to commit murder.            He

contends that his trial counsel’s performance was deficient based

on the fact that his counsel had sufficient opportunity to object

to the instruction and special verdict form at any time during

the week between the Court’s distribution of draft jury

instructions and the jury’s receipt of the charge, including

during the two conferences on the instructions attended by

counsel.   Petitioner alleges that he was prejudiced by this error



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because the prosecution did not present evidence of the element

of “agreement” that was necessary to prove conspiracy to murder

as actually charged in Racketeering Act 20 in the indictment.

     Additionally, Brandao argues that jury confusion was

exhibited by the fact that the jury acquitted him of Count 33 of

the indictment, which charged him with the murder of Dinho

Fernandes under the Violent Crimes in Aid of Racketeering (VICAR)

statute, 18 U.S.C. § 1959, but found he committed Racketeering

Act 20, which was erroneously captioned “murder of Dinho

Fernandes” [Docket No. 1259].      In rejecting this argument when

petitioner initially raised it in his post-trial motion, this

Court explained that “[a] likely explanation for the jury’s

behavior is that there is an additional element of the VICAR

count which the government failed to prove, namely that Defendant

committed the murder of Fernandes . . . in furtherance of his

membership in the enterprise . . . or for the purpose of

maintaining his position in the enterprise.”        Brandao, 448 F.

Supp. 2d at 320.

     Even if the petitioner could demonstrate that his counsel’s

failure to object constituted deficient performance, the First

Circuit has already rejected his argument that he was prejudiced

by this error.   Quoting this Court, the First Circuit found that

an objection to the erroneous instruction and special verdict

form would not have changed the outcome of Brandao’s case:



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         [G]iven the evidence at trial, the jury could not
         have found Brandao guilty of murder (the amended
         charge) if it had not also found he had colluded
         with others to carry out the murder. “Because the
         government never suggested that Defendant pulled
         the trigger, an agreement was a necessary condition
         of the jury’s finding Defendant guilty of the
         substantive murder via an aiding and abetting
         theory.”

Brandao, 539 F.3d at 63 (quoting Brandao, 448 F. Supp. 2d at 323-

24).   As this Court previously stated, the erroneous jury

instruction did not prejudice the petitioner because “there is no

logical explanation for how the jury could have found Brandao

guilty of aiding and abetting substantive murder and not guilty

of conspiracy to murder.”       Brandao, 448 F. Supp. 2d at 324.

       The First Circuit and this Court have also previously

rejected petitioner’s argument that the jury’s acquittal on Count

33, the VICAR murder of Dinho Fernandes, demonstrates prejudice.

Both courts discounted this argument because the VICAR count

required a showing that the murder was committed by Brandao in

order to maintain or improve his position in the enterprise.              The

First Circuit explained, “the jury could have found Brandao

guilty of murdering Fernandes while not also finding that, as

required for a VICAR conviction, he committed the murder to

maintain or improve his position in [the enterprise].”            Brandao,

539 F.3d at 63 n.13 (citing Brandao, 448 F. Supp. 2d at 320).

       Since Brandao offers no argument to support his claim of

prejudice that has not already been rejected by the First



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Circuit, he cannot meet his burden of proving both that his

counsel’s performance was deficient and that he was prejudiced by

that deficient performance.     See Tracey, 739 F.2d at 682.

B. Government’s Failure to Disclose Witness’s Prior Conviction

     Petitioner’s second argument for relief is that his Due

Process rights were violated by the government’s failure to

disclose a new criminal conviction of its key witness.

Petitioner acknowledges that this issue has already been

addressed by this Court and the First Circuit.         However, he

argues that the issue should be reconsidered because this Court

made no specific findings on whether the prosecution acted in bad

faith and because the U.S. Attorney’s Office has come under

scrutiny for subsequent instances of failing to disclose evidence

to criminal defendants.

     When Brandao first raised the prosecution’s failure to

disclose its witness’s conviction in a Motion for New Trial, this

Court rejected the argument, finding that “[a]lthough Defendant

again asserts bad faith on the part of the prosecutor, there is

no evidence to support it.”     Brandao, 448 F. Supp. 2d at 328.

Furthermore, this Court held that the undisclosed impeachment

evidence was not material because there was ample evidence

already available with which Brandao could impeach the witness,

and the witness’s testimony was corroborated by other significant

evidence.   Id.   The First Circuit affirmed the denial of the



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Motion for New Trial on these same bases.         Brandao, 539 F.3d at

64.

      Petitioner offers no new evidence that the prosecution acted

in bad faith and thus provides no basis for reconsideration of

this issue.    The petitioner’s contention that the Boston U.S.

Attorney’s Office has faced recent criticism for withholding

exculpatory evidence in other cases provides no support for his

allegation that the prosecution acted in bad faith in this case.

C. Reasonableness of Sentence

      Next, the petitioner reiterates another set of arguments

that have previously been rejected by the First Circuit and this

Court.   Specifically, he contends that his sentence was

unreasonable because it created a disparity between his sentence

and that of his more culpable co-defendants.         He also submits

that his sentence was unreasonable because he was eighteen at the

time of the offenses, had no criminal history, and had only been

involved in the enterprise for two months.         Brandao laid out

these arguments extensively in his sentencing briefs.

      Notwithstanding these contentions, this Court determined

that a sentence of 333 months was appropriate, and the First

Circuit agreed on appeal. Id. at 65.

D. New Evidence About Potential Juror Untruthfulness

      The sole claim presented by petitioner that has not been

previously ruled upon by this Court and the First Circuit



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involves new evidence about juror responses to voir dire.

Petitioner states that new information was brought to his

attention that shows that all jurors but one were untruthful when

they were asked during voir dire whether “they would believe the

testimony of a police officer simply because he or she is a

police officer.”   (Def.’s Mot. for New Trial or to Reduce

Sentence at 11.)   According to Brandao, an evidentiary hearing is

necessary on this matter because “he was clearly prejudiced by

the untruthful answers given by jurors in response to the

questionnaire” given the fact that the prosecution’s case rested

heavily on testimony from police.       (Id.)   He also suggests that

the essay “raises serious questions as to whether the jury was

exposed to extraneous prejudicial information or whether any

outside influence was improperly brought to bear upon any juror.”

(Resp. to Gov’t Opp’n to Def.’s Mot. to Vacate at 5.)

     The new information touted by Brandao is an essay written by

one of the jurors for a creative non-fiction writing class1 that

purportedly describes various aspects of the trial, including

some parts of the jury deliberation.      [Sealed Document, Docket

No. 1559].

     1. Contents of the Juror’s Essay


     1
      The Epilogue of the essay suggests that Brandao probably
obtained the essay through his cousin who came to know its author
after the trial. The author apparently goes to church in the
community where the crimes at issue in this trial occurred.
[Sealed Document, Docket No. 1559 at 19.]

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     The creative writing piece submitted by Brandao describes

interactions among the jurors during deliberations regarding

police credibility:

              “Ana, why would the police lie?” asked my
        fellow juror. I looked at her in disbelief.
              “They are human, for one,” I replied. “They
        lie to close a case, to cover their backs, they
        even lie to make sure that people who are guilty
        are convicted.” In my head I said they also lie to
        put black people in jail. But I wasn’t going to go
        there. For one, this case was about gangs, murder
        and shootings. At least that is what the charges
        said.

[Sealed Document, Docket No. 1559 at 14.]       Shortly after this

passage, the author continued:


        I looked around and saw the looks on the faces of
        the other jurors. Each face had the same message.
        They could not believe that I believed that the
        police could lie. I could not believe that they
        believed that the police never lied. For the first
        time the deliberations came to a complete
        standstill. For what seemed like an interminable
        time I looked at them and they looked at me over
        this impasse.

[Id.]

     In a later passage, the author indicated:

             I thought back to the testimony of the
        Detective.
             “Detective, when you interrogate a suspect do
        you take notes or tape your interviews?” asked the
        defense lawyer.
             “No, I rely on my memory to write my reports,”
        replied the Detective.
             “You interrogated Angelo Brandao, nearly six
        years ago. Have you re-read the reports prior to
        coming to testify today?” the lawyer continued.
             “No, I have not.”



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            “What more proof do you need?” I thought.
       “Even if he is not lying his memory is not perfect.
       Nobody’s is.”
            I had to admit to myself that it was about
       race. Not police lying.


[Id. at 14-15.]   She further stated:

       In the end we did not have to come to an agreement
       about police lying. The real issue turned out to
       be police incompetence and sloppy work in gathering
       evidence and keeping it in custody. . . . We found
       one man innocent because the police simply did not
       provide sufficient evidence for the prosecutor to
       present to us.”

[Id. at 17.]    The man that the jury found innocent was Brandao’s

co-defendant.

     2. Permissibility of Post-verdict Juror Inquiry

     Federal Rule of Evidence 606(b) prohibits the admission of

juror testimony and evidence of juror statements for the purpose

of impeaching a jury verdict.     Fed. R. Evid. 606(b); see also

United States v. Connolly, 341 F.3d 16, 34 (1st Cir. 2003)

(quoting Tanner v. United States, 483 U.S. 107, 117 (1987)).            In

part, the rule states:

       Upon an inquiry into the validity of a verdict
       or indictment, a juror may not testify as to
       any matter or statement occurring during the
       course of the jury’s deliberations or to the
       effect of anything upon that or any other
       juror’s mind or emotions as influencing the
       juror to assent to or dissent from the verdict
       or indictment or concerning the juror’s mental
       processes in connection therewith.

Fed. R. Evid. 606(b).    The rule manifests several policy

considerations including “finality, maintaining the integrity of


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the jury system, encouraging frank and honest deliberations, and

the protection of jurors from subsequent harassment by a losing

party.”   Connolly, 341 F.3d at 34.

     Notwithstanding the prohibitions of Rule 606(b), jurors may

testify about three matters that are exceptions to the rule: (1)

extraneous prejudicial information that was improperly brought to

the jury’s attention, (2) any outside influence improperly

brought to bear on any juror, or (3) a mistake in entering the

verdict on the verdict form.     Fed. R. Evid. 606(b).      However, the

First Circuit has previously warned that “courts generally

‘should be hesitant to haul jurors in after they have reached a

verdict to probe for potential instances of bias, misconduct, or

extraneous influences.’”      Neron v. Tierney, 841 F.2d 1197, 1205

(1st Cir. 1988) (citing United States v. Moon, 718 F.2d 1210,

1234 (2d Cir. 1983)).    Such an inquiry should only be conducted

when “there is clear, strong, substantial and incontrovertible

evidence that a specific, nonspeculative impropriety has occurred

which could have prejudiced the trial of a defendant.”          Connolly,

341 F.3d at 34 (citing Moon, 718 F.2d at 1234).        Most motions

that urge post-verdict inquiry fall short of meeting this high

threshold.   See, e.g., Id. (holding that a post-verdict inquiry

based on possible use of juror’s notes made outside of actual

trial time during deliberation was improper because the notes

were not an “extraneous” or “extrinsic” influence);         United



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States v. Villar, 586 F.3d 76, 78-79 (1st Cir. 2009) (holding

that Rule 606(b), but not the Constitution, precluded inquiry

into racial or ethnic prejudice based on an e-mail message from

one of the jurors disclosing another juror’s statement: “I guess

we’re profiling but they cause all the trouble.”).

     3. Evidence of Nonspeculative Impropriety

     Nothing in the juror’s essay or anything else in evidence

even suggests that some extraneous or outside influence affected

the jurors in Brandao’s case.     The fact that one juror’s creative

writing piece claims that during deliberations all the other

jurors in the case disagreed with her about whether the police

lied provides no basis for believing there may have been some

sort of outside force or information affecting the outcome of the

case or that the jurors lied during voir dire.

     The information contained in the creative writing piece

hardly constitutes the “clear, strong, substantial and

incontrovertible evidence that a specific, nonspeculative

impropriety has occurred” that is required by the First Circuit

before a court may inquire into misconduct, bias, or prejudice on

the part of a juror.    Connolly, 341 F.3d at 34 (citing Moon, 718

F.2d at 1234).

     4. Prejudice to Petitioner’s Case

     Petitioner’s argument is further undermined by the fact

that, in order to warrant an inquiry into the validity of a jury



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verdict, First Circuit precedent requires not only substantial

and incontrovertible evidence of a specific impropriety, but also

that the impropriety “could have prejudiced the trial of [the]

defendant.”     Id. (citing Moon, 718 F.2d at 1234).         Brandao offers

no support for his claims that he was prejudiced by the jurors’

alleged untruthfulness.       According to the juror essay submitted

by petitioner, the matter of police credibility was not relevant

to the jury’s verdict: “In the end we did not have to come to an

agreement about police lying.”        [Sealed Document, Docket 1559 at

17.]    This assertion in the essay suggests that the jury had

sufficient evidence on which they could agree (i.e. evidence not

including police testimony) that led them to the verdict they

reached in this case.       Thus, even if petitioner could

sufficiently establish that the jurors did have a bias favoring

police testimony, which he has failed to do here, the outcome of

his case would be no different than if decided by jurors without

that bias.

                                  IV. ORDER

       Petitioner’s motion under 28 U.S.C. § 2255 to vacate his

conviction and order a new trial, or in the alternative to reduce

his sentence of 333 months [Docket No. 1535] is DENIED.




                                           S/PATTI B. SARIS
                                           United States District Judge


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